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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



META PLATFORMS, INC.,

                         Plaintiff,

           v.

THE FEDERAL TRADE COMMISSION,

– and –                                                   Case No. 1:23-cv-03562-RDM

LINA M. KHAN, REBECCA KELLY
SLAUGHTER, and ALVARO BEDOYA,
in their official capacities as Commissioners
of the Federal Trade Commission,

Defendants.


                  REPLY MEMORANDUM OF POINTS AND AUTHORITIES
                IN FURTHER SUPPORT OF PLAINTIFF’S MOTION TO STAY

          Defendants’ opposition amply demonstrates why judicial economy would be advanced by

staying this action for 90 days pending developments in the Facebook case and the Slaughter case,

as explained below. Defendants point to no prejudice to them from a stay, much less sufficient

prejudice to outweigh the clear efficiencies a stay would produce. In these circumstances, the

Court should grant the requested stay.

          Defendants’ arguments emphasize four principal reasons for why the stay will preserve the

parties’ resources and promote judicial efficiency.

          First, Defendants themselves admit that the overlap between this action and the first-filed

Facebook action will, upon remand of Facebook from the D.C. Circuit, make the actions “related”

cases under this Court’s rules. See LCvR 40.5(a)(3). The “substantial” procedural history of this

case (Dkt. 47 at 1) includes that Meta in Facebook explicitly “ask[ed] the district court … to enjoin
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the FTC’s administrative proceeding against it on constitutional grounds.” (Dkt. 47 at 3.) These

are “precisely the claims … raised in this action” (id.),1 and necessarily “grow out of the same

event or transaction” and “involve common issues of fact” as the claims in this action, so Facebook

and this action will be “related” as soon as the “earliest” (Facebook) is again “pending on the

merits.” LCvR 40.5(a)(3). The D.C. Circuit has ordered that its mandate will issue on July 7

absent a petition for rehearing, so this key next step will be clarified shortly.

        Second, Defendants do not dispute that the Facebook action has the potential to moot this

action if Judge Kelly enjoins the FTC administrative proceeding that is challenged in both actions.

In Facebook, Meta raises its constitutional challenges in addition to its principal argument that

Judge Kelly should enjoin the FTC proceeding because Judge Kelly’s retention of jurisdiction over

Attachment A—which the D.C. Circuit has now upheld—prevents the agency from modifying

Attachment A.2 Well-established principles of judicial restraint and constitutional avoidance

counsel against deciding constitutional issues where, as here, a dispute can be resolved on non-

constitutional grounds. See, e.g., Hight v. United States DHS, 135 F.4th 996, 1011 (D.C. Cir.

2025). Under these circumstances, it is premature to speculate that, as Defendants argue, “this

Court’s resolution of the [constitutional] issues before it would likely assist the Facebook

proceedings.” (Dkt. 47 at 4.) Further, while Defendants fault Meta for not elaborating here on the

arguments that it expects to make before Judge Kelly in Facebook on remand (Dkt. 47 at 3),3




1
 More precisely, Meta raises five structural constitutional challenges to the FTC proceeding here, four of which
Meta raised in Facebook.
2
 As this Court previously observed, in Facebook, “Meta argued that the modification proceedings before the
Commission were improper because the district court had exclusive jurisdiction to enforce or to modify the 2020
order. Meta also raised numerous constitutional challenges to the modification proceedings and to the FTC’s
authority generally.” Meta Platforms, Inc. v. FTC, 723 F. Supp. 3d 64, 77 (D.D.C. 2024).
3
  Defendants argue that “the D.C. Circuit did not opine on the merits of Facebook’s underlying motion to enforce
the 2020 Stipulated Order and Attachment A.” (Dkt. 47 at 3.) But the Court of Appeals squarely held that Judge

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Facebook—and not this action—is the forum for those arguments. Tellingly, Defendants do not

dispute that Facebook could moot this action, which weighs in favor of staying this action pending

the developments in Facebook that are potentially dispositive here.

         Third, Defendants’ argument that a stay would not preserve the parties’ resources and

advance judicial efficiency erroneously focuses only on the single motion presently pending before

the Court. Defendants thus ignore the further proceedings that would follow a ruling by this Court

on their pending motion to dismiss: litigation before this Court if the motion is denied in any

respect, and an appeal if the motion is granted in its entirety. Given that Defendants’ argument

myopically focuses on the pending motion, there is no dispute that a stay would place on pause—

and potentially obviate—the effort and expense of further litigation.

         Finally, Defendants’ arguments confirm that the Slaughter case could determine the lineup

of defendants before this Court. In particular, Defendants acknowledge that when an official-

capacity defendant—such as Defendants Khan, Slaughter, and Bedoya here—“ceases to hold

office while the action is pending … [t]he officer’s successor is automatically substituted as a

party.” Fed. R. Civ. P. 25(d); see Dkt. 47 at 1 n.1 & 4. While Khan has been replaced as a

defendant4 and Bedoya no longer is seeking reinstatement, Slaughter will determine whether or

not Slaughter returns as a defendant.




Kelly retained jurisdiction over Attachment A, which is the basis for Meta’s principal argument and is, by itself, a
sufficient basis to enjoin the FTC proceeding, as Meta will show before Judge Kelly.
4
 Under Rule 25(d), Mark R. Meador was “automatically substituted as a party” when he was sworn in as an FTC
Commissioner on April 16, 2025.

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DATED: June 26, 2025             Respectfully submitted,

                                 /s/ James P. Rouhandeh

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